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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EMOJI COMPANY GmbH,              )
                                 )
     Plaintiff,                  ) Case No.: 20-cv-4678
                                 )
v.                               )
                                 ) Judge Andrea R. Wood
THE INDIVIDUALS, CORPORATIONS,   )
LIMITED LIABILITY COMPANIES,     )
PARTNERSHIPS AND                 )
UNINCORPORATED ASSOCIATIONS      )
IDENTIFIED ON SCHEDULE A HERETO, )
                                 )
     Defendants.                 )

                                     STATUS REPORT

       Plaintiff’s counsel submits this Status Report, prepared solely by Plaintiff’s counsel
because no appearances have yet been filed for any of the Defendants.

       A. Progress of Discovery. Plaintiff filed a motion for a temporary restraining order and
          related motions including a motion for leave to issue expedited discovery on August
          10, 2020, which motions are pending.
       B. Status of Briefing on Any Unresolved Motions. The foregoing motions have been
          briefed by Plaintiff.
       C. Settlement Efforts. Plaintiff shall engage in settlement discussions with Defendants
          upon entry of a temporary restraining order.
       D. Proposed Schedule for Next 45 Days. See E. below.
       E. Proposed Revised Discovery and Dispositive Motion Schedule. Plaintiff intends to
          move for entry of a preliminary injunction about 14 days after entry of a temporary
          restraining order and for entry of default judgment about 60 days thereafter.
       F. Agreed Actions the Court Can Take Without a Hearing. The parties currently do not
          have any agreed actions the Court can take without a hearing.
       G. Service of Process. Defendants shall be served if and when a temporary restraining
          order is entered.
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                                Respectfully submitted,

Dated: October 21, 2020         EMOJI COMPANY GmbH


                                By:   s/ Michael A. Hierl                  _
                                       Michael A. Hierl (Bar No. 3128021)
                                       William B. Kalbac (Bar No. 6301771)
                                       Hughes Socol Piers Resnick & Dym, Ltd.
                                       Three First National Plaza
                                       70 W. Madison Street, Suite 4000
                                       Chicago, Illinois 60602
                                       (312) 580-0100 Telephone
                                       (312) 580-1994 Facsimile
                                       mhierl@hsplegal.com

                                       Attorneys for Plaintiff
                                       EMOJI COMPANY GmbH




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                                 CERTIFICATE OF FILING

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Status Report was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on October 21, 2020.



                                                       s/Michael A. Hierl




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